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 8                          UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,                  Case No. 5:23-cr-00021-JGB
12             Plaintiff,                     [PROPOSED] ORDER GRANTING
                                              JASON CARDIFF’S UNOPPOSED
13       vs.                                  EX PARTE APPLICATION FOR
                                              PERMISSION TO TEMPORARILY
14 JASON EDWARD THOMAS                        RELOCATE TO DALLAS
   CARDIFF,
15                                            [Filed concurrently with Ex Parte
            Defendant.                        Application and Declaration of Stephen
16                                            G. Larson]
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                                      [PROPOSED] ORDER
Case 5:23-cr-00021-JGB     Document 82-2 Filed 07/10/24       Page 2 of 2 Page ID
                                    #:4472



 1        GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED
 2 that Jason Cardiff shall be permitted to temporarily stay in Dallas, Texas until July
 3 12, 2024, or until electricity is restored to his place of residence in Houston, Texas,
 4 whichever is later.
 5        IT IS FURTHER ORDERED that Jason Cardiff shall continue to remain in
 6 contact with and provide his location to United States Probation and Pretrial
 7 Services.
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 9        IT IS SO ORDERED.
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     Dated:
11                                            Honorable Jesus G. Bernal
12                                            United States District Judge

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                                       [PROPOSED] ORDER
